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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                       )
DUANE JOSEPH JOHNSON,                                  )
                                                       )
                          Plaintiff,                   )
        v.                                             )          Civil Action No. 18-03062 (RBW)
                                                       )
DISTRICT OF COLUMBIA, et al.,                          )
                                                       )
                                                       )
                          Defendants.                  )
                                                       )

                                                    ORDER

        In accordance with the Court’s oral rulings issued at the status conference held on

January 12, 2024, it is hereby

        ORDERED that the parties shall meet, confer, and file a proposed schedule for further

proceedings in this case on January 26, 2024. 1 It is further

        ORDERED that, on January 30, 2024, at 1:30 p.m., the parties shall appear before the

Court for a scheduling conference. The parties shall appear before the Court via teleconference,

by calling 1-877-873-8017 and entering the Court's access code (8583213) followed by the

pound key (#).

        SO ORDERED this 12th day of January, 2024.


                                                                       REGGIE B. WALTON
                                                                       United States District Judge




1
 The parties’ filing shall otherwise be in accordance with Local Rule 16.3 and Federal Rule of Civil Procedure
26(f), as amended.
